                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                               CASE NO. 5:20-cv-00336-D


  SSG SHANE PAGE, BRITTANY
  PAGE, SPC SPENSER GANSKE,
  EMILY GANSKE, SFC
  CHRISTOPHER WILKES, ASHLEY
  WILKES, CPL TIMOTHY
  MURPHY, and KATELYN
  MURPHY, individually and on behalf
  of others similarly situated,

         Plaintiffs,

          v.

  BRAGG COMMUNITIES, LLC,
  CORVIAS MANAGEMENT-ARMY,
  LLC, BRAGG- PICERNE
  PARTNERS, LLC, and CORVIAS
  CONSTRUCTION, LLC,

         Defendants.


                                 SUGGESTION OF DEATH

       Please be advised pursuant to Rule 25 of the Federal Rules of Civil Procedure that one of

the Plaintiffs in this matter, Timothy Murphy, has passed away.




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Dated this 16th day of August, 2022.



                                       By:   s/John Hughes
                                             Mona Lisa Wallace
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                                             John Hughes
                                             NCSB #22126
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                               CERTIFICATE OF SERVICE

       I DO HEREBY CERTIFY that on the 16th day of August, 2022, I filed a true and correct

copy of the above and foregoing SUGGESTION OF DEATH with the Clerk of Court using the

CM/ECF system, which will send notification of such filing (NEF) to all CM/ECF registered

attorneys indicated on the NEF, including counsel for Defendant.

                                            By:    s/John Hughes
                                                   Mona Lisa Wallace
                                                   NCSB #9021
                                                   John Hughes
                                                   NCSB #22126
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